Case 1:01-cv-12257-PBS Document 4966 Filed 12/31/07 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MDL No. 1456
C.A. No. 01-12257-PBS

IN RE: PHARMACEUTICAL INDUSTRY AVERAGE
WHOLESALE PRICE LITIGATION

Judge Patti B. Saris
THIS DOCUMENT RELATES TO ALL ACTIONS

MOTION FOR INJUNCTION AGAINST ROBERT J. SWANSTON AND
DONALD E. HAVILAND FROM PURSUING OVERLAPPING CLAIMS AND
DEFENDANTS IN SWANSTON V. TAP PHARMACEUTICAL PRODUCTS, INC., ETAL.

Despite this Court’s September 11, 2007 ruling that Mr. Donald E. Haviland cannot
pursue state claims and defendants overlapping with claims and defendants in MDL No. 1456
(“MDL”), Mr. Haviland and his client, Mr. Robert J. Swanston, continue to do so in Swanston v.
TAP Pharmaceutical Products, Inc., et al., Superior Court of the State of Arizona in and for the
County of Maricopa, CV2002-004988 (Hon. Janet E. Barton) (“Swanston”). The defendants in
Swanston that are also defendants in the MDL (the “Swanston Defendants”)’ proposed a
dismissal of overlapping claims and defendants consistent with this Court’s September 11 order
and the dismissal previously effected in the New Jersey AWP case. Unfortunately, Mr. Haviland
continues to pursue overlapping claims and defendants in Swanston. For the reasons outlined
during the September 11 hearing and for the reasons outlined in the attached memorandum in

support, the Swanston Defendants respectfully request that this Court enjoin Robert J. Swanston,

! The Swanston Defendants include: Abbott Laboratories; Amgen Inc.; Zeneca, Inc.;
AstraZeneca Pharmaceuticals L.P.; AstraZeneca LP; Aventis Pharmaceuticals Inc.; Hoechst
Marion Roussel, Inc.; ZLB Behring, L.L.C. (f/k/a Aventis Behring L.L.C.); Baxter International
Inc.; Baxter Healthcare Corporation; Bayer Corporation; Bristol-Myers Squibb Co.; Oncology
Therapeutics Network Corp.; Apothecon, Inc.; Dey, Inc.; Fujisawa Healthcare, Inc.; Fujisawa
USA, Inc.; Immunex Corporation; Johnson & Johnson; Centocor, Inc.; Ortho Biotech Products,
L.P.; Pharmacia Corporation; Pharmacia & Upjohn LLC, f/k/a Pharmacia & Upjohn, Inc.;
Monsanto Company; Schering-Plough Corporation; Warrick Pharmaceuticals Corporation;
Sicor, Inc.; Gensia, Inc.; and Gensia Sicor Pharmaceuticals, Inc.

DSMDB-2370794

Case 1:01-cv-12257-PBS Document 4966 Filed 12/31/07 Page 2 of 3

Donald E. Haviland, or any other putative class representative from pursuing claims and

defendants in Swanston that overlap with those in the MDL. An appropriate order is attached.

/s/ J. Andrew Jackson

J. Andrew Jackson
Dickstein Shapiro LLP
1825 Eye Street, NW
Washington, DC 20006
Telephone: 202-420-2200
Facsimile: 202-420-2201

Counsel for Defendants
Baxter International Inc. and
Baxter Healthcare Corporation

/s/ Peter E. Gelhaar

Peter E. Gelhaar (BBO #188310)
Donnelly, Conroy & Gelhaar, LLP
One Beacon Street, 33rd Floor
Boston, MA 02108

Telephone: 617-720-2880
Facsimile: 617-720-3554

Counsel for Defendants
Baxter International Inc. and
Baxter Healthcare Corporation

DSMDB-2370794

Case 1:01-cv-12257-PBS Document 4966 Filed 12/31/07 Page 3 of 3

CERTIFICATE OF ELECTRONIC SERVICE

I hereby certify that I caused a true and correct copy of the foregoing document to be

served on all counsel of record in this case electronically via Lexis-Nexis File & Serve on

December 31, 2007.

/s/ Jared D. Rodrigues
Jared D. Rodrigues

DSMDB-2308102

